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                              Exhibits
                               A&B
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          Plaintiff's Original Petition
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                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                 08/25/2022
                                                                                                    CT Log Number 542190087


Service of Process Transmittal Summary

TO:       Luisa Gomes
          Ross Stores, Inc.
          5130 Hacienda Dr
          Dublin, CA 94568-7635

RE:       Process Served in Texas

FOR:      Ross Stores, Inc. (Domestic State: DE)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: GLORIA DAIL // To: Ross Stores, Inc.

CASE #:                                 119313CV

NATURE OF ACTION:                       Personal Injury - Failure to Maintain Premises in a Safe Condition

PROCESS SERVED ON:                      C T Corporation System, Dallas, TX

DATE/METHOD OF SERVICE:                 By Process Server on 08/25/2022 at 02:40

JURISDICTION SERVED:                    Texas

ACTION ITEMS:                           CT has retained the current log, Retain Date: 08/25/2022, Expected Purge Date:
                                        08/30/2022

                                        Image SOP

                                        Email Notification, Luisa Gomes maria.gomes@ros.com

                                        Email Notification, Vanessa Langlais vanessa.langlais@sedgwick.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1999 Bryan Street
                                        Suite 900
                                        Dallas, TX 75201
                                        866-665-5799
                                        SouthTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1
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                                                              Cli). Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS



Date:                                     Thu, Aug 25, 2022
Server Name:                              Jacob Nordgren




 Entity Served               ROSS STORES, INC.

 Case Number                 119313-CV

 Jurisdiction                TX



                                                 Inserts
                 Case
Service I.D. No.237465    4:22-cv-03489 Document 1-1 Filed on 10/10/22 in TXSD Page 5 of 20               icc.4)9
                                                                                                               .
                                                                                                               )
                                                     CAUSE NO. 119313-CV
                                                      412th District Court

THE STATE OF TEXAS                                                                                   CITATION


TO: ROSS STORES,INC.D/B/A ROSS DRESS FOR LESS                                                          Defendant
    By serving its Registered Agent
    CT Corporation Systems
    350 N.St. Paul,Suite 2900
    Dallas, Texas 75201,or wherever they may be found

NOTICE:

        You have been sued. You may employ an attorney. If you or your attorney does not file a written answer
with the Clerk who issued this Citation by 10:00 a.m. on the Monday next following the expiration of 20 days
after you were served this Citation and Plaintiffs Original Petition a Default Judgment may be taken against
you. In addition to filing a written answer with the clerk, you may be required to make initial disclosures to the
other parties of this suit. These disclosures generally must be made no later than 30 days after you file your
answer with the clerk. Find out more at TexasLawHelp.org.If filing Pro se, said answer may be filed by mailing
same to: Brazoria County District Clerk's office, 111 E. Locust, Suite 500, Angleton, TX 77515-4678 or by
bringing said answer in person to the aforementioned address.

       The case is presently pending before the 412th District Court of Brazoria County sitting in Angleton,
Texas, and was filed on the 23rd day of August,2022. It bears Cause No. 119313-CV and Styled:

                                                        Gloria Dail
                                                             vs.
                                         Ross Stores,Inc. d/b/a Ross Dress for Less

      The name and address of the Attorney filing this action (or Party, if Pro Se)is Jennifer H. Kahn, The
Kahn Law  Firm,P.C.,2225 County Road 90,Suite 109,Pearland,Texas 77584.

      The nature of the demands of said Plaintiff is shown by a true and correct copy of Plaintiff's Petition
accompanying this Citation.

          Issued under my hand and the seal ofsaid Court, at Angleton, Texas,on the 25th day of August,2022.



DONNA STARICEY,DISTRICT CLERK
Brazoria County,Texas
                               Digitally signed by
                               Stephanie
               -
               - A)J                       Nutt
                               Date:2022.08.25
                               11:27:04 -05'00'
By                                                   ,, Deputy
                     Stephanie Nutt




                                                                                      Service Copy
Citation by Registered Agent
                 Case
Service I.D. No./37465    4:22-cv-03489 Document 1-1 Filed on 10/10/22 in TXSD Page 6 of 20
                                                        RETURN OF SERVICE

                                             CAUSE NO. 119313-CV           412th District Court

                                                         GLORIA DAIL
                                                              VS.
                                           ROSS STORES,INC.D/B/A ROSS DRESS FOR LESS

ROSS STORES,INC.D/B/A ROSS DRESS FOR LESS
By serving its Registered Agent
CT Corporation Systems
350 N.St. Paul,Suite 2900
Dallas, Texas 75201,or wherever they may be found


Came to hand on the                day of                              , 20    at             , o'clock       in., and executed in
                          County, Texas by delivering to each ofthe within named parties in person, a true copy of this CITATION
with the date of delivery endorsed thereon, together with the accompanying copy ofthe Plaintiffs Original Petition at the following
times and places, to-wit:

NAME             DATE          TIME              PLACE,COURSE,AND DISTANCE FROM COURTHOUSE                                  MILEAGE




and not executed as to(NAME)

and the cause or failure to execute this process is for the following reason:



The diligence used in finding said(NAME)being:

FEES:
Serving Citation and Copy                              $                                                                     ,Officer
Mileage:          miles @$            per mile         $                                                                 County, Texas
Total                                                  $
                                                                                            Deputy/Authorized Person

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF,CONSTABLE,OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The
return must either be verified or be signed under penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

"My name is                                         ,my date of birth is                           ,and my
                    (First, Middle,Last)
address is
                     (Street, City, State,Zip Code,Country)

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in                       County,State of                 ,on the        day of                   ,20_.




                                                                                                     Declarant/Authorized Process Server



                                                                                                  (ID No. and expiration ofcertification)


Citation by Registered Agent
                                                                                        Filed for Record
       Case 4:22-cv-03489 Document 1-1 Filed on 10/10/22 in TXSD Page  7 of 20
                                                                    8/23/2022 3:25 PM
                                                                                        Donna Starkey, District Clerk
                                                                                        Brazoria County, Texas
                                                                                        119313-CV
                                                                                        Stephanie Nutt, Deputy

                                         CAUSE NO.          119313-CV

  GLORIA DAIL                                                           IN THE DISTRICT COURT

  V.                                                                        JUDICIAL DISTRICT

 ROSS STORES,INC.D/13/A ROSS
 DRESS FOR LESS                                                      BRAZORIA COUNTY,TEXAS

                                       PLAINTIFF'S ORIGINAL PETITION,

TO THE HONROABLE JUDGE OF SAID COURT:

           COMES NOW,GLORIA DAIL, hereinafter referred to as "Plaintiff," in the above entitled

and numbered cause, complaining of and against ROSS STORES, INC. D/B/A ROSS DRESS

FOR LESS, hereinafter "Defendant," and for cause of action would show the following unto the

Court:

                                                       I.
                                            DISCOVERY CONTROL PLAN

           1.         Plaintiffintends that this case be conducted in accordance with a Level 2Discovery

Control Plan, pursuant to Texas Rule of Civil Procedure 190.4.


                                                           PARTIES

           2.         Plaintiff, GLORIA DAIL,is an individual who resides in Brazoria County, Texas.

           3.         Defendant, ROSS STORES,INC. D/B/A ROSS DRESS FOR LESS, is a Foreign

Corporation authorized to do business in the State of Texas, who may be served with service of

process by serving the registered agent, CT Corporation Systems, at 350 N. St Paul, Suite 2900,

Dallas, Texas,75201,or wherever they may be found. CITATION IS HEREBY REQUESTED.




Gloria Dail v. Ross Stores,Inc. d/b/a Ross Dressfor Less                                              Page 1
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                                              JURISDICTION AND VENUE

           4.        Jurisdiction is proper in this Court because Plaintiffis entitled to damages in excess

ofthe minimum jurisdiction ofthis Court.

           5.         Venue in Brazoria County is proper in this cause under Section 15.002(a)(1)ofthe

Texas Civil Practice and Remedies Code because all or a substantial portion of the facts giving

rise to the injuries occurred in Brazoria County.

                                            IV.
                           ASSUMED NAMES MISNOMER,AND ALTER EGO


          6.         As authorized by Rule 28 ofthe Texas Rules ofCivil Procedure,this suit is brought

against all those partnerships, unincorporated associations, private corporations, and individuals,

either known or unknown,who are or were,during the period in which the incident made the basis

ofthis lawsuit occurred,including August 27,2020,doing business as Defendant ROSS STORES,

INC.D/B/A ROSS DRESS FOR LESS. Further, in the event that any parties are misnamed or not

included herein, it is Plaintiff's contention that such was a misnomer and/or such parties are/were

alter egos ofparties named herein.

                                                            V.
                                                          FACTS

          7.         On or about August 27,2020,PlaintiffGloria Dail,entered upon the premises ofRoss

Dress For Less, located at 100 W.Highway 332 #1174, Lake Jacicson, Brazoria County, Texas, for

the purpose of shopping. Plaintiff entered the store at the invitation of Defendant, to engage in

shopping. While she was shopping in the store, she went around the corner near the rear ofthe store

and slipped and fell on a broken bottle ofoil which cut her hand and caused her to bleed profusely.

Plaintiff's serious bodily injuries occurred as a direct result ofa fall that was proximately caused by

the dangerous condition described above, which Defendant knew or,in the exercise ofordinary care,


Gloria Dail v. Rao Stares, Inc. d/b/a Ross Dressfar Len                                              Page 2
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should have known existed. As a result of Defendant's negligent acts and omissions, Plaintiff

sustained serious and disabling personal injuries that have required extensive medical treatment and

surgery.

          8.         Defendant and their employees were aware,or reasonably should have been aware,

that this unreasonably dangerous condition existed, yet made no efforts to reduce or eliminate the

unreasonably dangerous condition, nor did they warn Plaintiff about the dangerous condition. As

a result ofthe fall, Plaintiffsustained serious and permanent personal injuries and damages.

                                                  VL
                                      NEGLIGENCE OF THE DEFENDANT

          9.         Plaintiffalleges that upon the occasion in question,Defendant failed to use ordinary

care by various acts and omissions in at least one or more ofthe following ways:

          a.         Failure to keep their premises reasonably safe for their customers;

          b.         Failure to reasonably and regularly inspect the premises for unreasonably
                     dangerous conditions;

          c.         Failure to reasonably and regularly inspect the premises for unreasonably
                     dangerous conditions on areas known to regularly contain potential unreasonable
                     dangers;

          d.         Failure to ensure that their employees reduce or eliminate any unreasonably
                     dangerous conditions;

          e.         Failure to maintain policies for inspecting the premises for unreasonably dangerous
                     conditions;

          f.         Failure to enforce policies for inspecting the premises for unreasonably dangerous
                     conditions;

          g.         Permitting a dangerous condition,ofwhich Defendant should have reasonably been
                     aware,to exist for an unreasonable period oftime;

          h.         Failure to provide adequate waffling to Plaintiffof all unreasonably dangerous
                     conditions of which the Defendant had actual or constructive knowledge;




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Plaintiffs OriginalPetition
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           i.        Failure to recruit, select, and hire competent employees capable of locating,
                     preventing, reducing, eliminating, and warning about unreasonably dangerous
                     conditions;

          j.         Failure to adequately train their employees in locating, preventing, reducing,
                     eliminating, and warning about unreasonably dangerous conditions;

           k.        Failure to adequately supervise their employees to ensure they are locating,
                     preventing, reducing, eliminating, and warning about unreasonably dangerous
                     conditions; and

           1.        Failure to terminate employees incapable of locating, preventing, reducing,
                     eliminating, and warning about unreasonably dangerous conditions.


           10.       Each and all of the above stated acts and/or omissions, taken together or

individually, constitute negligence and the same are a direct and proximate cause of the injuries

and damages sustained by Plaintiff.


                                               RESPONDEAT SUPERIOR


           11.       At all relevant times herein, all ofthe agents, servants, or employees ofDefendant

who were in any way connected to this suit were acting within the course and scope of their

employment or official duties and in furtherance of the duties of their office or employment.

Therefore, the acts or omissions of those agents, servants, or employees are attributable to

Defendant and renders Defendant liable for all damages suffered by Plaintiffunder the doctrine of

respondeat superior.

                                            VIII.
                         NEGLIGENCE OF THE DEFENDANT'S EMPLOYEES

           12.       Plaintiff alleges that upon the occasion in question, the Defendant's employees

failed to use ordinary care by various acts and omissions in at least one or more of the following

ways:




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           a.         Failure to keep the premises reasonably safe for its customers;

           b.         Failure to eliminate any unreasonably dangerous conditions; and

           c.     Failure to give adequate warning to Plaintiff of all unreasonably dangerous
           conditions of which the employees had actual or constructive knowledge.


           13.        Each and all of the above stated acts and/or omissions, taken together or

individually, constitute negligence and the same are a direct and proximate cause of the injuries

and damages sustained by Plaintiff.

                                                             IX.
                                                           DAMAGES

           14.        As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff was caused to suffer severe personal injuries, and to incur the following damages:

                 A. The physical pain and mental anguish sustained by Plaintifffrom date ofinjury to the
                    time oftrial;

                 B. The physical pain and mental anguish that Plaintiff will suffer in the future;

                 C. Loss ofearnings sustained by Plaintifffrom date ofinjury to time oftrial;

                 D. Loss of earnings and earning capacity reasonably anticipated to be suffered by
                    Plaintiffin the future;

                 E. Reasonable and necessary medical expenses incurred by Plaintiffin the treatment of
                    Plaintiffs injuries from date ofinjury to time oftrial;

                 F. Reasonable and necessary medical expenses reasonably anticipated to be sustained by
                    Plaintiffin the future for treatment ofPlaintiff's injuries;

                 G. Past and future physical disfigurement; and

                 H. Past and future physical impairment.

                                                           PRAYER


           WHEREFORE,PREMISES CONSIDERED, Plaintiff respectfully prays that Defendant

be cited to appear and answer herein, and that upon a final hearing of the cause,judgment be


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entered for the Plaintiff against Defendant for damages ofmore than $1,000,000.00; together with

pre-judgment interest(from the date ofinjury through the date ofjudgment)at the maximum rate

allowed by law; post-judgment interest at the legal rate, costs ofcourt; and such other and further

reliefto which Plaintiff may be entitled at law or in equity.


                                                          Respectfully submitted,

                                                          THE KAHN LAW FIRM,P.C.




                                                          JOHN J. KAHN,JR.
                                                          Texas Bar. No.24034515
                                                          JENNIFER H. KAHN
                                                          Texas Bar No. 24032304
                                                          2225 County Road 90, Suite 109
                                                          Pearland, TX 77584
                                                         (713)226-9900 Telephone
                                                         (713)226-9901 Facsimile
                                                          iohnAlcahnlawyers.com
                                                          iennifer@lcahnlawyers.corn
                                                          ATTORNEYS FOR PLAINTIFF




Gloria Dail v. Ross Stores,Inc. d/b/a Ross DM!for Lazy                                       Page 6
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     Defendant's Answer to Original Petition
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                                    CAUSE NO. 119313-CV

 GLORIA DAIL,                                   §        IN THE DISTRICT COURT OF
                                                §
                Plaintiff,                      §
                                                §
 v.                                             §        BRAZORIA COUNTY, TEXAS
                                                §
 ROSS STORES, INC. D/B/A                        §
 ROSS DRESS FOR LESS,                           §
                                                §
                Defendant.                      §        412h JUDICIAL DISTRICT



                         DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Ross Stores, Inc., doing business as Ross Dress for Less,

Defendant in the above entitled and numbered cause, and in answer to the Plaintiff’s

pleadings on file herein, would respectfully show unto the Court as follows:

                                        A.
                                  GENERAL DENIAL

        1.    Defendant asserts a general denial as is authorized by Rule 92 of the Texas

Rules of Civil Procedure, and respectfully requests that Plaintiff be required to prove the

charges and allegations against this Defendant by the evidence as is required by the laws

of the State of Texas.

                                         B.
                                   CREDIT / OFFSET

        2.    In the unlikely event that Defendant is found liable to Plaintiff, Defendant

affirmatively pleads that it is entitled to a dollar-for-dollar credit/offset for any and all
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sums Plaintiff has received or may hereafter receive by way of any and all payments or

settlements of any claims, causes of action, or potential causes of action arising out of the

incident made the basis of this lawsuit. This written election is being made pursuant to

§33.012(b)(1) of the Texas Civil Practice & Remedies Code.

                                        C.
                              RIGHT TO SUPPLEMENT

       3.     Defendant respectfully reserves the right at this time to amend this Original

Answer to the Plaintiff’s allegations after said Defendant has had the opportunity to

investigate more closely these claims, as is the right and privilege of said Defendant

under the Rules of Civil Procedure and the laws of the State of Texas.

                                       D.
                              DISCOVERY DOCUMENTS

       4.     By way of further Answer, Defendant hereby gives actual notice to the

Plaintiff, that any and all documents produced during discovery may be used against the

party Plaintiff, if any, at any pre-trial proceeding and/or trial of this matter without the

necessity of authenticating the document. This notice is given pursuant to Rule 193.7 of

the Texas Rules of Civil Procedure.

                                         E.
                                 PAID OR INCURRED

       5.     Defendant invokes §41.0105 of the Texas Civil Practice and Remedies

Code and requests that to the extent Plaintiff seeks recovery of medical or healthcare

expenses, the evidence to prove such loss be limited to the amount actually paid by or on

behalf of the Plaintiff, as opposed to the amount charged.

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                                         F.
                                NET LOSS REDUCTION
       6.     Defendant also invokes §18.091 of the Texas Civil Practice and Remedies

Code and requests that, to the extent that Plaintiff seeks recovery for loss of earnings,

loss of earning capacity, loss of contributions of a pecuniary value, or a loss of

inheritance, that the evidence to prove such loss must be present in the form of a net

loss after reduction for income tax payments or unpaid tax liability. Defendant further

requests that the Court instruct the jury as to whether any recovery for compensatory

damages sought by Plaintiff is subject to federal income taxes.


                                     G.
                           CONTRIBUTORY NEGLIGENCE
       7.     Defendant affirmatively pleads that Plaintiff failed to keep a proper look-

out; thus, Plaintiff contributed to the accident or was the sole cause of the incident for

which Plaintiff brings suit.

                                            H.
                                       JURY DEMAND

       8.     Defendant herein demands a trial by jury on all contested fact issues. On

this date, a jury fee has been paid.



       WHEREFORE, PREMISES CONSIDERED, the above-named Defendant, Ross

Stores, Inc. d/b/a Ross Dress for Less, having fully answered herein, prays that Plaintiff

take nothing by reason of this suit, and that Defendant be discharged. Defendant

prays further that all court costs expended or incurred in this cause be assessed and



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taxed against Plaintiff, and for all such other and further relief, both general and special,

at law and in equity, to which Defendant may show itself justly entitled.

                                          Respectfully submitted,

                                          GERMER, PLLC


                                          By:
                                                TROY A. WILLIAMS
                                                State Bar No. 00788678
                                                SERENA HARMON
                                                State Bar No. 00785943
                                          America Tower
                                          2929 Allen Parkway, Suite 2900
                                          Houston, Texas 77019
                                          Telephone: (713) 650-1313
                                          Facsimile: (713) 739-7420
                                          E-Mail: twilliams@germer.com
                                          E-Mail: sharmon@germer.com

                                          ATTORNEYS FOR DEFENDANT
                                          ROSS STORES, INC. D/B/A
                                          ROSS DRESS FOR LESS

                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument
has been duly served on the following counsel through the Court’s e-service on this the
10th day of October, 2022:

       John@kahnlawyers.com
       Jennifer@kahnlawyers.com
       The Kahn Law Firm
       2225 County Road 90, Suite 109
       Pearland, Texas 77585
       Attorneys for Plaintiff



                                                         TROY A. WILLIAMS


                                             4
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           Defendant's Jury Demand
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                                     CAUSE NO. 119313-CV

 GLORIA DAIL,                                     §        IN THE DISTRICT COURT OF
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §       BRAZORIA COUNTY, TEXAS
                                                  §
 ROSS STORES, INC. D/B/A                          §
 ROSS DRESS FOR LESS,                             §
                                                  §
                Defendant.                        §       412h JUDICIAL DISTRICT



                     RULE 216 REQUEST FOR JURY TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

        In accordance with the provisions of Rule 216 of the Texas Rules of Civil

Procedure, Defendant, Ross Stores, Inc. d/b/a Ross Dress for Less, requests that when

this case proceeds to trial it be placed on the Court’s jury trial docket.


                                            Respectfully submitted,

                                            GERMER, PLLC


                                            By:
                                                  TROY A. WILLIAMS
                                                  State Bar No. 00788678
                                                  SERENA HARMON
                                                  State Bar No. 00785943
                                            2929 Allen Parkway, Suite 2900
                                            Houston, Texas 77019
                                            Telephone: (713) 650-1313
                                            Facsimile: (713) 739-7420
                                            E-Mail: twilliams@germer.com
                                            E-Mail: sharmon@germer.com

                                            ATTORNEYS FOR DEFENDANT
                                            ROSS STORES, INC. D/B/A
                                            ROSS DRESS FOR LESS
   Case 4:22-cv-03489 Document 1-1 Filed on 10/10/22 in TXSD Page 20 of 20




                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument
has been duly served on the following counsel through the Court’s e-service on this the
10th day of October, 2022:

      John@kahnlawyers.com
      Jennifer@kahnlawyers.com
      The Kahn Law Firm
      2225 County Road 90, Suite 109
      Pearland, Texas 77585
      Attorneys for Plaintiff



                                                       TROY A. WILLIAMS




                                            2
